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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION


REIYN KEOHANE,

      Plaintiff,

v.                                            CASE NO. 4:16-cv-511

JULIE L. JONES, in her official
capacity as Secretary of the Florida
Department of Corrections,

      Defendant.


                     Joint Notice Concerning Plaintiff’s Hair

      Pursuant to this Court’s order, ECF 143, the parties notify the court that

they have been unable to reach further agreement concerning Plaintiff’s hair.

                                 Respectfully submitted,

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